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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


   IN RE PORK ANTITRUST LITIGATION                       No. 18-cv-01776


   This Document Relates To: All Actions


                MOTION FOR LEAVE TO SUBSTITUTE COUNSEL FOR
                        PLAINTIFF TROYER FOODS, INC.


       Pursuant to Rule 83.7(b) of the Local Rules of the United States District Court for the

District of Minnesota, the undersigned attorney hereby notifies the Court and counsel that Direct

Action Plaintiff Troyer Foods, Inc. (“Troyer”) has retained Patrick J. Ahern from the law firm of

Ahern and Associates, P.C. to substitute as counsel for Eric R. Lifvendahl of Lifvendahl Law,

LLC, Richad Coffman of The Coffman Law Firm, and Robert N. Kaplan, Matthew P. McCahill

and Jason A. Uris of Kaplan, Fox & Kilsheimer, LLP in this case. Mr. Ahern has been admitted

pro hac vice in this action. This substitution will not cause any delay to the prosecution of the

case by Plaintiff Troyer Foods, Inc. or the current Case Management Schedule.

Respectfully submitted,

Dated: July 8, 2024
                                                  s/ Patrick J. Ahern
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                                                  /s/ Eric R. Lifvendahl
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                                /s/ Robert N. Kaplan
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2024, a true and correct copy of the foregoing document

was electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

                                                        /s/ Patrick J. Ahern .

                                                        Patrick J. Ahern




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